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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


VICKI JONES,

                        Plaintiff,

v.                                                        Case No: 6:16-cv-1274-Orl-41KRS

BLUESTEM BRANDS, INC.,

                        Defendant.
                                           /

                                           ORDER

        THIS CAUSE is before the Court on the Stipulation of Voluntary Dismissal with Prejudice

(Doc. 21). Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Clerk of Court is

directed to close this case.

        DONE and ORDERED in Orlando, Florida on January 31, 2017.




Copies furnished to:

Counsel of Record




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